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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

  IN RE:                                               CASE NO. 17-BK-3283 (LTS)

  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT      BOARD    OF
  PUERTO RICO
                                                       PETITION      UNDER       TITLE    III   OF   THE
  As    a representative                of  the        PUERTO RICO OVERSIGHT, MANAGEMENT
  COMMONWEALTH OF                       PUERTO         AND ECONOMIC STABILITY ACT
  RICO1


  IN RE:                                                CASE NO. 17-BK-4780 (LTS)

  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT      BOARD    OF
  PUERTO RICO
                                                       PETITION      UNDER       TITLE    III   OF   THE
    As a representative of the PUERTO                  PUERTO RICO OVERSIGHT, MANAGEMENT
        RICO ELECTRIC POWER                            AND ECONOMIC STABILITY ACT (JOINTLY
               AUTHORITY                               ADMINISTERED)



      INFORMATIVE MOTION AND RESERVATION OF RIGHTS

  TO THE HONORABLE COURT:




  1 The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the

  last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
  Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last
  Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
  (Bankruptcy Case No. 17- BK-3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico
  Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four
  Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17- BK-3566-LTS) (Last Four Digits of
  Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-
  4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
  (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case
  numbers are listed as Bankruptcy Case numbers due to software limitations).
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          COMES NOW the Hon. Rafael Hernández-Montañez, in his official capacity

  as Speaker of the Puerto Rico House of Representatives, through the undersigned

  counsels and very respectfully SETS FORTH and PRAYS:

          On March 8, 2022, this Honorable Court entered an order denying the motion

  for extraordinary relief under 11 U.S.C. § 105(a) filed by the Ad Hoc Group of

  Puerto Rico Electric Power Authority (hereinafter referred to as “PREPA”)

  bondholders2 (docket number 20278). While denying the relief sought by the Ad

  Hoc Bondholders3, the Court ordered the Financial Oversight Management Board

  (hereinafter referred to as “FOMB”) to, inter alia, “promptly meet and confer with

  AAFAF, the Ad Hoc Group, and all other major stakeholders and interested

  parties whose collaboration it believes is necessary to construct a viable

  basis for a plan of adjustment, to consider whether a consensual mediation

  arrangement can be entered into promptly to resolve key plan-related issues” with a

  status report due on March 18, 2022 (emphasis added).

          The appearing party respectfully understands that any confirmable plan of

  adjustment would require some enabling legislation (48 U.S.C. § 2174(b)(5)),

  particularly with the Government’s announcement that it would no longer abide by

  the 2019 Restructuring Support Agreement. For this reason, yesterday the Speaker

  formally asked that the House be included in the discussion process ordered by the




  2 A few other creditors and interested parties had joined in this request.
  3 The movants sought to compel mediation to implement the May 2019 Restructuring Support
  Agreement without the need of enabling legislation, something that the appearing party respectfully
  understands is not possible. These creditors further sought to place the PREPA restructuring
  process on a rocket docket schedule.


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  Court. A copy of this communication, which was served to the Board’s leadership

  via email, is attached hereto.

        Both common sense and respect for democratic institutions militate in favor

  of affording the House a seat at the table in which the specifics of adjusting

  PREPA’s debt are being discussed. As advised in our opposition to the Ad Hoc

  Bondholders’ motion, the House has in the past shown both the willingness and the

  ability to secure the approval of legislation enabling plans of adjustment. If the

  Legislature is excluded from the discussion and is later asked to rubberstamp

  whatever proposal comes out of the process, there is a major risk of confirmation

  being delayed or even jeopardized.

        Based on the above, the Puerto Rico House of Representatives respectfully

  reserves the right to, in the event that the FOMB does not incorporate it into the

  relevant PREPA restructuring discussions ordered by this Honorable Court, seek an

  order or any other equitable relief to demand such inclusion.

        WHEREFORE it is very respectfully requested from this Honorable Court to

  take knowledge of the above stated.

                                   CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that the instant document has been

  filed with the Court’s CM/ECF System, which will simultaneously serve notice on

  all counsels of record, to their registered e-mail addresses.   Any non-registered

  attorneys and/or parties will be served via regular mail.

        In San Juan, Puerto Rico this 10th day of March, 2022.




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                                              RESPECTFULLY SUBMITTED,

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